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To whom it may concern:

   My name is pastor Marion Berryhill from Breakthrough International Church. I am writing this letter
on behalf of Edward Salvador. I fully agree with the judicial system and am a firm believer in do the
crime do the time. After I heard how much time Edward is looking at I must say it really did grieve my
heart. I have known him on drugs and off drugs. On drugs he is a criminal but off drugs he is a great
individual. I have known him around 12 to 15 years. I have witnessed him be a great father, husband and
friend to many while being sober. In my opinion he doesn’t have a crime problem he has a drug
problem. I do understand the nature of his crime. If I could suggest that he be enrolled into some type of
drug rehabilitation and given a reduced sentence I believe it will be more benefitable for him and his
children. I do have a drug problem that I founded my self in Philadelphia, MS. I don’t know if it would be
a option for him to be released to our facility and after completion of the 9 month program he be
remanded back into custody and his sentence be re assed pending completion of the program. I really
do believe he will make it with the right guidance. Thank you for your time. Below is all my info if you
have any questions.


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Program Website
Onesimushouse.org
